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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

NATIONAL VETERANS LEGAL       )
  SERVICES PROGRAM, et al.,   )
                              )
          Plaintiffs,         )
                              )
     v.                       ) Civil Action No. 16-745 ESH
                              )
UNITED STATES OF AMERICA,     )
                              )
          Defendant.          )
                              )
______________________________)

                                  ORDER

     Upon Consideration of the Unopposed Motion For An Enlargement

Of Time, And Memorandum In Support Thereof, and for the reasons set

forth in support thereof, it is this _____ day of _________, 2016,

     ORDERED that the motion should be and is hereby GRANTED; and it

is

     FURTHER ORDERED that the time within which Defendant may file

a reply to Plaintiffs’ opposition to the pending Motion To Dismiss

Or, In The Alternative, For Summary Judgment be and is hereby enlarged

up to and including August 16, 2016.



                                  ____________________________
                                  UNITED STATES DISTRICT JUDGE
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